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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             )
                                       )
      v.                               ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                                   JOINT STATUS REPORT

       The parties hereby provide notice that, as urged by the Court, the parties are engaged in

ongoing settlement discussions regarding resolution of this case. Accordingly, the parties

respectfully request that the Court hold in abeyance any ruling on Petitioner’s pending Motion

for Preliminary Injunction for ten days while the parties continue these discussions. If the Court

grants this request, the parties will inform the Court on or before July 30 whether an agreement

has been reached, whether an agreement has not been reached and the parties have not agreed

that the motion should continue to be held in abeyance, or whether both parties jointly request

additional time.

July 19, 2018                                      Respectfully submitted,

                                                    /s/ Jonathan Hafetz
Arthur B. Spitzer (D.C. Bar No. 235960)            Jonathan Hafetz (D.C. Bar No. NY0251)
American Civil Liberties Union                     Dror Ladin (pro hac vice)
   of the District of Columbia                     Anna Diakun
915 15th Street, NW, 2nd Floor                     Brett Max Kaufman (D.C. Bar No. NY0224)
Washington, DC 20005                               Hina Shamsi (D.C. Bar No. MI0071)
Tel: 202-457-0800                                  American Civil Liberties Union Foundation
Fax: 202-457-0805                                  125 Broad Street—18th Floor
aspitzer@acludc.org                                New York, New York 10004
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                                          Tel: 212-549-2500
                                          Fax: 212-549-2654
                                          jhafetz@aclu.org
                                          dladin@aclu.org
                                          adiakun@aclu.org
                                          bkaufman@aclu.org
                                          hshamsi@aclu.org

Counsel for Petitioner

                                          CHAD A. READLER
                                          Acting Assistant Attorney General
                                          JESSIE K. LIU
                                          United States Attorney
                                          TERRY M. HENRY
                                          Assistant Director, Federal Programs Branch
                                                                                 /s/
                                          Kathryn L. Wyer
                                          JAMES M. BURNHAM
                                          Senior Counsel
                                          KATHRYN L. WYER
                                          Senior Trial Counsel, Federal Programs
                                          OLIVIA HUSSEY SCOTT
                                          Trial Attorney, Federal Programs
                                          U.S. Department of Justice, Civil Division
                                          20 Massachusetts Avenue, N.W
                                          Washington, DC 20530
                                          Tel. (202) 616-8475 / Fax (202) 616-8470
                                          kathryn.wyer@usdoj.gov
                                          Attorneys for Respondent




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